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   9
  10                                  UNITED STATES DISTRICT COURT
  11                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  12
  13 GUILLERMO ROBLES,                              Case No. 2:16-cv-06599
                                                    Hon. S. James Otero
  14                     Plaintiff,
                                                    DEFENDANT DOMINO’S PIZZA
  15            v.                                  LLC’S NOTICE OF MOTION AND
                                                    MOTION FOR STAY
  16 DOMINO’S PIZZA LLC,
  17                     Defendant.                 Date: July 15, 2019
                                                    Time: 10:00 a.m.
  18                                                Ctrm.: 10C
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                                                    Action Filed: September 1, 2016
  20                                                Trial Date:   March 24, 2020
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                                                                          Case No. 2:16-cv-06599
       SMRH:4852-3645-8648.1                           NOTICE OF MOTION AND MOTION FOR STAY
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   1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2 PLEASE TAKE NOTICE that on July 15, 2019 at 10:00 a.m. in Courtroom 10C
   3 of the above-entitled Court located at 350 W. 1st Street, Los Angeles, CA 90012,
   4 Defendant Domino’s Pizza LLC (“Defendant”) will, and hereby does, move the
   5 Court for a stay of this litigation pending the United States Supreme Court’s
   6 determination of whether to grant Defendant’s forthcoming petition for a writ of
   7 certiorari. Defendant contends that there is a substantial likelihood the Supreme
   8 Court will grant the petition given (1) the issues in this case have a national
   9 importance and (2) to resolve the current circuit split of authority concerning the
  10 applicability of the Americans with Disabilities Act (“ADA”) to websites and
  11 mobile applications.
  12            This motion is made following the conference of counsel pursuant to L.R. 7-3
  13 which took place on May 23, 2019, June 3, 2019, and June 4, 2019. This Motion is
  14 based on this Notice of Motion and Motion, the Memorandum of Points and
  15 Authorities, the Declaration of Bradley J. Leimkuhler and attached exhibits, the
  16 records and files herein, and such other evidence as may be admitted at the time of
  17 hearing of the motion.
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  19 Dated: June 10, 2019
  20                                   SHEPPARD, MULLIN, RICHTER & HAMPTON                   LLP
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  22                                   By                 /s/ Gregory F. Hurley
  23                                                     GREGORY F. HURLEY
  24                                                     Attorneys for Defendant,
  25                                                     DOMINO’S PIZZA LLC
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